DOCUMENTS UNDER SEAL                                                   TOTAL TIME (m ins): 21
M AGISTRATE JUDGE                        DEPUTY CLERK                          REPORTER/FTR
M INUTE ORDER                           Stephen Ybarra                          Ana Dub
MAGISTRATE JUDGE                         DATE                                    NEW CASE         CASE NUMBER
Alex G. Tse                             May 6, 2020                                              20-mj-70282-MAG
                                                    APPEARANCES
DEFENDANT                                AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.     RET.
Fasi Fotu                                         Y       P       Julia Jane and Ashley Riser          APPT.
U.S. ATTORNEY                            INTERPRETER                           FIN. AFFT             COUNSEL APPT'D
Christina T Liu                         n/a                                    SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR              PARTIAL PAYMENT
                            Carolyn Truong                        APPT'D COUNSEL                OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                          TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING           IA REV PROB. or           OTHER
                                                                                or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.              ATTY APPT
                                                                                                          HEARING
                                                   INITIAL APPEARANCE
        ADVISED                ADVISED                 NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES              IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON            READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT              SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY       SPECIAL NOTES               PASSPORT
      ON O/R            APPEARANCE BOND            $                                                 SURRENDERED
                                                                                                     DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED        RELEASED       DETENTION HEARING             REMANDED
      FOR             SERVICES                                               AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                          PLEA
    CONSENT                    NOT GUILTY                GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                CHANGE OF PLEA            PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                       FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                  STATUS RE:
5/15/20                          HEARING                 HEARING               CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.           PRELIMINARY           CHANGE OF               STATUS
                                 AFFIDAVIT               HEARING               PLEA
10:30 AM                                                 _____________
BEFORE HON.                      DETENTION               ARRAIGNMENT            MOTIONS                JUDGMENT &
                                 HEARING                                                               SENTENCING
DMR
       TIME W AIVED              TIME EXCLUDABLE         IDENTITY /            PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC          REMOVAL               CONFERENCE              HEARING
                                 3161                    HEARING
                                               ADDITIONAL PROCEEDINGS
These proceedings were held via telephone. Defendant consents to proceed by telephone. AUSA offers proffer; the defense
offers proffer. Government's counsel shall submit a proposed detention order.

cc: DMR                                                                              DOCUMENT NUMBER:
